


  AMY, Judge.
 

  The Defendant, Marcus Allen Maze, was charged by bill of information, district court docket number 64,387, with simple criminal damage to property over $500.00, a violation of La.R.S. 14:56, and with aggravated criminal damage of property, a violation of La.R.S. 14:55. Pursuant to a plea agreement in district court docket
   
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  number 64,386, the charges in docket number 64,387 were dismissed.
  
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  On September 8, 2009, the Defendant filed a motion in the trial court seeking an appeal of the charges in district court docket number 64,386, as well as the charges that were dismissed in district court docket number 64,387. On March 5, 2010, this court issued a rule to show cause why the appeal in the above-captioned case should not be dismissed, as the charges at issue were dismissed. The Defendant responded, conceding that the charges were dismissed, and thus, the matter is moot.
 

  Accordingly, the appeal in the above-captioned case is hereby dismissed.
 

  APPEAL DISMISSED.
 



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   . On February 25, 1010, the State filed a motion and order to dismiss the charges in docket number 64,387 because they were not dismissed on the record. The order was signed by the trial court that same day.
  
